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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION


SADIE HACKLER, ON BEHALF OF                              §
HERSELF AND ALL OTHERS                                   §
SIMILARLY SITUATED;                                      §                     SA-18-CV-00911-XR
             Plaintiff,                                  §
                                                         §
v.                                                       §
                                                         §
TOLTECA ENTERPRISES, INC.,                               §
            Defendant.

                                                    ORDER

        On this date, the Court considered Defendant Tolteca Enterprises, Inc.’s Advisory to the

Court on the Matter of the Class Period in this Case and Motion to Modify the Class Notice to

Reflect the Class Period of One Year (ECF No. 48) and Plaintiff Sadie Hackler’s Response (ECF

No. 49). The Court will GRANT IN PART and DENY IN PART Defendant’s motion.

        On May 29, 2020, this Court issued an order which granted in part and denied in part

Plaintiff’s Motion to Approve Form of Notice to the Class Members (ECF No. 40). See ECF No.

47 (“the Class Notice Order”). The Class Notice Order approved Plaintiff’s proposed form of

notice (ECF No. 40-1) but denied Plaintiff’s request to shift the cost of notice to Defendant and

ordered Plaintiff to effect notice to the class with the assistance of Defendant in accordance with

the order. ECF No. 47 at 6–7.

        In its present motion, Defendant asserts that the Court’s Class Notice Order was incorrect

because it states that Defendant withdrew its objections to the form of the notice. ECF No. 48 at

2. Defendant previously objected to the form of notice because the notice “fail[ed] to specify the

eligible time period of one year from June 5, 2018” for class membership.1 ECF No. 44 at 2.


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  Defendant seemingly believed that the class membership was defined by the one-year statute of limitations running
from the date of the letter Plaintiff received, June 5, 2018. Id. That is not the case. The class includes “[a]ll

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The Court noted that the proposed notice accurately described the class as including persons who

received a letter from Defendant “after August 31, 2017”—that is, “within the year preceding the

filing of this suit.” ECF No. 45 at 10. The Court further ordered the parties to confer on the

form of notice and submit a joint advisory outlining a proposed plan for notice to the class

members.       Id.   Plaintiff submitted an advisory which stated Defendant had “no changes

suggested” for the form of notice. ECF No. 46 ¶ 2. Accordingly, in the Court’s Class Notice

Order, the Court approved the proposed form of notice and noted that “Defendant appears to

have withdrawn” its objections to the language describing the class.                        ECF No. 47 at 4.

Defendant now argues “Defendant did not drop its objection nor waive them in any way,” but

rather that a “compromise was agreed upon” and “the lawyers agreed on the class period starting

August 31, 2017 to end on August 31, 2018.” ECF No. 48 at 2.

        Defendant further claims the approved class notice (ECF No. 40-1) “is defective because

it fails to incorporate the one (1) year class period of August 31, 2017 to August 31, 2018.” ECF

No. 48 at 2. Defendant “insists on that being in the notice.” Id. Finally, Defendant claims that,

in accordance with the Court’s previous order for the parties to confer, they did so and agreed

upon a joint advisory, but that Plaintiff instead submitted Plaintiff’s Advisory. ECF No. 48 at 3–

4. Defendant suggests “the Court might want to have explained or to issue a show cause order

for an explanation” as to why the advisory was not filed jointly. Id. at 3. Defendant requests that

the Court set aside the approval of the class notice in the Class Notice Order and order the notice

be reformed to state the one-year class period from August 31, 2017 to August 31, 2018. Id. at 4.




persons…who, within the year preceding the filing of this suit” were sent a qualifying letter by Defendant. ECF No.
36 at 14 (certifying the class). Plaintiff filed this suit on August 31, 2018. ECF No. 1. Thus, in an April 27, 2020
order, the Court noted “that the proposed notice’s description of the certified class as including persons who
received a letter from Defendant ‘after August 31, 2017’ accurately describes the class” certified by this Court. ECF
No. 45 at 10.

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        Plaintiff responds that the class notice “has not yet ‘gone to press’” and concedes that she

has no objection to modifying the language of the notice to include “the August 31, 2017 to

August 31, 2018 language instead of the ‘after August 31, 2017’ language.”2 ECF No. 49 at 2.

        Accordingly, the Court GRANTS IN PART Defendant’s motion and ORDERS Plaintiff

to revise the language in the previously approved class notice to reflect the agreed upon one-year

class period of August 31, 2017 to August 31, 2018. Plaintiff shall provide the modified class

notice to Defendant; if further revisions are requested by either party, the parties are ORDERED

to confer and attempt to reach an agreement on the form of notice.

        The Court notes Defendant “compromised” on its objection to the language in the class

notice rather than “withdrawing” that objection. Nevertheless, it is clear that the parties have

agreed that the certified class includes those who received a qualifying letter from Defendant

between August 31, 2017 and August 31, 2018. Therefore, the Court DENIES Defendant’s

request to set aside the Court’s Class Notice Order. The parties must continue to comply with

the Class Notice Order, including all deadlines originally set out therein, or request an extension

of time to do so.

        It is so ORDERED.

        SIGNED this 2nd day of June, 2020.




                                                    XAVIER RODRIGUEZ
                                                    UNITED STATES DISTRICT JUDGE



2
  The Court notes that the present motion may have been resolved or narrowed if Defendant had complied with the
requirement to confer with opposing counsel in a good-faith attempt to resolve the matter by agreement. See Local
Rule CV-7(i). The parties are advised that failure to comply with Rule CV-7(i) may result in the Court refusing to
hear or denying a non-dispositive motion that fails to include the required certificate of conference. Id.

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